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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff,
VS. Case No.: 22-cr-115-JFH

CONSENT TO PROCEED BEFORE
Nicole Cox, A MAGISTRATE JUDGE FORA
CHANGE OF PLEA IN A FELONY
Defendant(s). CASE

A United States Magistrate Judge has explained to me the nature of the offense(s) with which I am
charged, including the maximum possible penalties which might be imposed if I am found guilty. A Magistrate
Judge has also informed me of my right to the assistance of legal counsel. A Magistrate Judge has further

informed me of my right to trial, judgment, and sentencing before a United States District Judge.

I hereby waive (give up) my right to trial before a United States District Judge, and consent to a
change of plea before a United States Magistrate Judge. I understand that I will be sentenced by a United
States District Judge.

Date: 1/3/2023 Za se.

Nicole Cox, Defendant

Attorney for Defendant

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Donald D. Bush, Magistrate Judge

Change Plea Magistrate Judge (8/2021)
